                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF MISSOURI


EDITH VOGEL,
                             Plaintiff,

v.                                                          Case No. 2:22-cv-04051

CARRIE TERGIN, in her official capacity as
Mayor of the City of Jefferson, and the
CITY OF JEFFERSON, MISSOURI,

                             Defendants.


                               JOINT MOTION TO APPROVE AND
                                 ENTER CONSENT JUDGMENT

       The parties hereby move the Court to approve their settlement herein and enter the

attached Consent Judgment, which fully and finally disposes of this action.

PLAINTIFF                                             DEFENDANTS


/s/ Cole D. Bradbury                                  /s/ Ryan Moehlman
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